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EXHIBIT 2

EXHIBIT 2

AT['()RNEYS AT LAW
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KEMP & KEMP

 

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]AM;S P. KEMP, ESQ. W'- $M““"'"
chada Bar No.: 6375 '
VICTORIA L, M ESQ_ cLERK oF me coum'
chada Bar N'o.: 13382

KEMP 8c KE.M`P

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A#om'y:pr Plaz'nig`f
DISTRICT CCURT
CLARK COUNTY, NEVADA .
***

I<ELLY M. sTARK, § Casc NO_: A-15-71994 e-c

P‘”i“'iff’ §Depmo.¢ vaIII
vs. )
» )
GNLV CORP., a Domesdc Corporation, ) _C_QMI_
D/B/A/ GOLDEN NUGGET LAS VEGAS,
Defc`ndants. ]URY TRIAL DEMANDED

)

) Arbitration Exemption: action seeking
§ equitable or extraordinary relief.

 

 

 

COMES NOW Plaimlff, KBLLY M. STARK, by and through Counsel of Record, KEMP
& KEM`P, ATTORNEYS AT LAW, and for a cguse of action does hereby state and allege as

follows

|QBI§Q!CTION
1. This is a civil 2ction for damages brought by KELLY M. STARK against-her former employer,
GNLV COI_LP. to redress discrimination and retaliation under 'l`idc VII of the 1964 Civil
Right$ Act, as amended by the 1991 Civil Righns Act, 42 U.S.C §12101 ez‘ seq., the Americsms £'

Wich Disabilities Acc of 1993 (hexein “ADA” , as those Acts have been amended from time to

 

 

 

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Case 2:15-cv-01311-RC.]-N.]K Document 1-3 Filed 07/10/15 Page 3 of 14

1 ' time. KELLY M. STARK brings additional claims for retaliation and interference by her
2 former employer, GNLV_ CORP., in violation of the Family and Medical leave Act of 1993
3 _ therein “”,FI\ALA) as amended 29 U.s.c. §2501 meq. _ l ' '

4 2. 4 KELLY M. STARK was issued a `Notice of Right to Sue by the United States Equal
: Employment Opportunity Cotnmission on March 19, 2015. h
7 3. KELLY M. STARK has` fully complied with all precequlsites under Title VII, the ADA and the
8 FMLA to pursue these claims in this Court.)

9 4. Tl:n's action has been timely Hled as to all claims
10 _ " manns
l 1 5. KELLY M STARK (hereln “Plaintift”), is a resident of Clark County, Nevada'. z

12 6. GNLV coRP., D/B/A/ GoLDEN NUGGET-LAS VEGAS garcia “D¢fendam”), is a

13 domestic corporation registered with ch`_e Nevada Secretary of State. ‘

:: 7. ' Defendant has continuous and ongoing business operations in the state of Nevada and Clatk

16 County, and engages in. an industry affecting commerce Upon information and belief,
. 17 Defendant employed more than‘SOO employees in the two calendar years preceding the-events

13 in question Defendant’s principal place of business is located in Las Vegas, .NV.

19 8. Defen_dant, as a corporation, can only operate by and through its `agents, directors, officers,

2 0 'managers, supervisors,'and employees Therefore, Whetever the identifying '»'v‘ord Defendant ris;`

2 1 used, it encompasses actions by and tl_uough its agents, directors; officers, managers,
22 supervisors, and employees

:: 9. Plat'ntiff is unaware of the true names and capacities whether ~individuals, corporations

2 5 associates, or otherwise of Defendants DOE INDIVIDUALS l through X and ROE

2 6 BUSINESS ENTIT}ES l through X, inclusive, and therefore sues these Qefendmm by snch
' 27 fictitious names. Plaintiff is informed and believes and thereupon alleges that the

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Case.2:15-cV-01311-RC.]-N.]K _Documen`t 1-3__ Filed'Q?/lO/l$ d Page'4 of 14-

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1Defendants, and each of them, are in some manner responsible and liable for the acts and

damages alleged in this Complaint. Plaintiff will seek leave of this Court to amend this

Complaint to allege the true names and capacities of the DOE INDIVIDUAL and ROE

’ CORPORATION Defendants when the true names of the DOE INDIVTDUAL and ROE
t CORFORAHON Defendants are ascertained

_T_<_> C
Plaintiff was hired by Delj`endant as a Table Games Dealer on October 155 "1998. At all times

herein, Plalntiff performed at`or above the reasonable expectations of"Defendant to include

' earning a position as a blackjack dealer in Defendant’s “high limit” gaming pit » a position

reserved for only the best dealers On june '7, 2013, Plaintiff’s temmation was effectuated

after she experienced a medical episode directly linked to her disability while on duty on May

A24, 2013.

In_. appro)timately 2011, l’laintiff was diagnosed with hyperthyroidism. By way of ,
background, the thyroid gland_ regulates every aspect of a person’s mccabolism thereby

dictating the actions and reactions of my organ and system within the human body. This is

' done through the production of a hormone produced exclusively by the thyroid. Left

undiagnosed, misdiagnosed or mistreated, hyperthyroidism can lead to permanent damage to
any one of the body’ s organs and systems, and to death

The treatments for hyperthyroidism include radioactive iodine therapy (hete'tn “RAI”),
aimed at disabling or killing the gland completely, or surgety to remove the gland. Either
procedure leads to a decreased or totally non-functioning gland After those procedures,
approximately 90%’ of patients are diagnosed as having hypothyroidism. Hypothyroidism ls

a chronic insidious disease that can.be managed by daily medication, but which does not

- preclude unannounced episodic reoccurrences _of symptoms affecting the quality ol` the

 

 

 

 

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patient’s life. Symptoms of hypodiyroidism include, but are not limited to, neuronal
excitability, body temperature control (getting excessively hot or cold), sensory impairments,
exaggerated sensitivities to smells and‘tastes, slowness of thought and action, changes of

speech, headaches, sleep disturbances,‘ confusion up to delusions and hallucinations,

l impairments of memory and mental acuity (“brain fog” , of vision, as well as of hearing

Further, the psychiatric disturbances which accompany hypecthyroidism and
hypothyroidism mimic mental illness. Patients may exhibit paranoia-like fear, marked anxiety
and tension, emotional lability, impatience and iri:itability, and distractible over-activity

Under the ADA', thyroid gland disorders are a covered disability ~ l

Plaintiff sought treatment for her hyperthyroidism undergoing two (2) rounds of RAI
therapy. When the RAI therapy failed to correct the hyperthyroidism Plai'ntiff underwent
surgery to have the gland completely removed Having no thyroid gland caused Plaindff be
diagnosed with hypothyroidism and she was prescribed a thyroid replacement hormone as a
measure to control her hypotliyroidism .As with any hormone replacement therapy, it is

often trial by.error and usually requires an expansive amount of time, often years, to ascertain

- the correct replacement therapy and dosage needed to regulate and manage the thyroid gland

disorder Additionally, replacement therapy requires regular testing to insure that the therapy

4 is achieving optimum results and control of the symptoms Even with astute and diligent

'moniton`ng, patients can experience the reoccurrence of symptoms This is exactly what

happened rs miners
Plaintifi’s thyroid surgery occurred on ]uly 19, 2012. She applied for and was granted leave

under the FMLA effective as of __luly ‘~19, 2012, specifically because of her thyroid gland

disorder. Plaintiff returned to full~duty on August Z, 2012.

 

 

 

 

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on penny 14, 2013, Pnindf€s` doctor wrote a note winch stated that marine was being
seen by him “i`or adrenal fatigue, hypodtyroidism, hormone 'insufiiciency, and insomnia.”
Th_e doctor further seated the he hoped the ,“letter will serve to docucnent the patient’s
medical diagnosis. . .”.

On May 24, 2013, .Plaintiff would experience a severe reoccurrence of her`hypothyroid
symptoms On that day, Plaintiff had two “regulat” players at her “high limit” table, a mother
and son. Plaintiff` had known both the mother and son since 1998 and had developed a
friendly rapport with eaeh. Because of their longstanding relationship, it was not unusual for
Plaintiff and the mother and son to joke, exchange stories about their lives, and generally
enjoy each othet’s company with engaging in gaming activities On this particular occasion,
Plaintiff was taken abaek by the arnount or perfume the mother was wearing - a perfume the
customer had Wotn niany times before and tvhich had not affected Plainti£t'. However, on
this occasion, the eustomer’s perfume was overwhelming and even though it was beginning
to bother her, Plaintiff jolc_ed With the players about it. Nonetheless, within a sltort perlod.of
time, the overwhelming perfume odot niggeer a strong chain reaction of physical and
mental symptoms`within Plaintif£. The"reaction to the perfume, and the resulting physical
and mental symptoms, are directly related and attributed to Plaintiff’s thyroid gland disability
First, Plainti£t’s body reacted to the strong perfume odor by getting hot leading to her to
panic and to an overwhelming feeling of anxiety. She backed away from the table to catch a
breath and to try and stabilize the symptoms She would return to the table, but the chain
reaction continued

Plaintiff’s anxiety grew as the situation becante more unmanageable for her. The stress of the
situation nigered Plaintiff’s cognitive reasoning and functioning capabilities to be

compromised This eondin`on is sometimes referred to as “-brain fog” wherein the stress of a

 

 

 

 

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situation can `muse the brain’s nemottansmitters to miere. “Brain fog” is a common
symptom of hypothyroidisrn. Plaintiff was notable to “configure her thoughts”'and became '
“confused_,” and, as a result, has trouble recalling portions of the events or is “foggy” in her
recollection

]ovalyn Del Rosaio (herein “Del Rosario”), Plainu`fi’s immediate supervisor during that shift,
noticed the incident and moved Plaintiff to another gaming~table;.howetzer, the table was still
in the messrs vicinity of the odor By_ this ama names ban was man stearnser _
attacking itself Plaintift` felt cornered and her body’s natural “tht or flight” instinct kicked
in. In one form or another, Plaintiff repeatedly relayed to Defendant that she could not
handle the perfume odor, that it was choking her. l v
Bryan Daigneault (herein “Daigneault”) was notified of the situation by Del Rosario and
approached Plaintiff to asked if she needed to be removed from the pit. Plainti£f replied
“yes.” After being removed, Plaintiff, still in a state of hyper-vigilance, tried to. explain to
Daigneault her thyroid condition and the effects of the perfume on her. v

After Plaintiff was removed &om the situation and allowed to take a break, she was able to
calm her body’s reactions enough to finish her shift,~but not enough to feel completely `
“recovered”' from the stress of the situation on her body and mind

Eve_n before Defendant was notified by Plaint:iff of her disability, in the form of her thyroid
gland disorder on the day of the incident, Defendant was aware of Plaintiff’s disability
ostenth had approved names leave under the FMLA and knew she had has surgery to
remove her thyroid. In addition, Plainti£i’s shift boss, judy \X/atson (herein “Watson”), who
was present the day of the 'incident,.had referred Plainu`ff to her endoerinologist, who was
also treating Watson for a similar condition Finally, Defendant was provided a letter from

Plaintiff’s doctor, dated january 14, 2013, explaining Plaintiff medical disabilities 'I'hese facts w

 

 

 

 

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are more than enough to have been considered a request for an accommodation under the
ADA.

Plainriff was suspended pending investigation on l\/iay 26, 2013. On May 29, 2013,
De£endant held a due process meeting wherein Plaimi£€ repeatedly explained the chain of
events, explained her thyroid gland disorder again, explained the effects of the disease again,
and explained how during the incident she had become overheated, confused, and filled with
anxiety ’I'his is more than enough to be considered a request for an accommodation under
the ADA.

Plaintiff was a model and valued employee for 15 years who had never received discipline for
behavior even remotely like that described above Defendant knew this behavior to be out of
character for Plaintiff yet, despite having complete knowledge of Plaintifi’s disability and
instead of addressing her need for an accommodation under the ADA, Defendant chose to
terminate her.

Plaintiff also had leave available under the FMLA, but Defendant, even though knowing this
to be true, did not suggest to Plaintlff that she leave the floor and/or take time off to
ascertain what had caused her reaction to the perfume and/or to seek medical attention
lnstead, Del Rosatio immediately placed Plaintiff bad~: in service only moving her a short
distance from the odor, but still well within Plaintif£’s olfactory range Del Rosar:io would be
terminated for not handling the situation properly

Immediately after the incident Plaintiff was visibly confused, anxious, demonstrating reduced
cognitive functioning and acting completely out of character. Defendant should have
suggested Plaintiff exercise her right to leave under the FMLA, as Plaintiff was not in any

condition to request leave on her own behalf at that time

 

 

 

 

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DISCRMI`NATION AN?J RBTALIATION IN VIOIATION OF TH`E
AM.`ERICANS WITH DISABILITIBS ACT OF 1990,
42U. S...C § 12101ETSEQ.

‘Plairxtiff repeats and re~alleges each and every pertinent.allegation"contained in and every

v other pertinent paragraph contained in this Contplaint, as'if set forth .i:`_ully herein _

As fully detailed herein, Plaintiff is a person with a disability pursnant the Americans with
Disabilities Act of 1990, as ain/ended in]anuaty 2009.

As fully detailed herein, Plainti£f was qualified for her job and capable of performing the

` essential functions of the job with or without a reasonable accommodation

As fully detailed herein, Plaintiff Was regarded as being disabled by Defendant.
As hilly detailed herein, Plaintiff’s disability was the sole or motivating factor in Defendant’s » -
decision to terminate Plaintiff’s employment ' v
As fully detailed herein, Plaintiff was denied a reasonable accommodation and Dvefendant‘
failed to engage, in good faith, in an i.nteractive ntocess to develop a reasonable
accommodation for Plaintiff. Such reasonable accommodation Would have allowed Plainliff
to perform the essential functions of her job and would not have been 'an undue hardship on
Defendant.

.As fully detailed herein, Plaiotiff posed no direct threat to the health and safety of others in
the Workplace. v 4

As fully detailed hercin, Defendant’s acts constituted discrimination tagainstPlainti_l'f with
respect to her compensation terms, conditions, or px:ivileges of employment in violation of
the Americans with Disabilities Act as amended_et`fective january 2009.

.D_efendarxt's acts constituted retaliation against Plaintif€ with respect to her cotnpensation1
terms, conditions, or privileges of employment in violation of the Americans with Disabilities

Act, as amended

 

 

 

 

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.As fully detailed herein, the actions of Defendant would have the “effect of discouraging

other persons With a disability from pursuing their rights under the Act.

Plaintiff suffered emotional distress, hutniliado@ and mental anguish

Plaintiff suffered damages _

Plaintiff should be awarded punitive damages against Defendant to make an example of
De`fe`ndant and to deter future conduct of this nature

As a result of l)efendant’s actions, Plaintiff has been required to hire an attorney and expend

fees and costs to pursue and protect her legal rights through this action and is, therefore,

' entitled 'to recover her reasonable attorney fees and costs in an amount `to be determined

sn' coNn cause on AQOI_~;:

mTERFERENcE WITH PLAINTIBF’$ rooms
m vtoLATIoN oi= ms FAMILY MEDICAL LEAvE Acr

Plaintiff repeats and re~alleges each and every pertinent allegation contained in and every
other pertinent paragraph contained in this Complaint, as if set forth‘fully herein

Deferxdant is liable to Plaintiff for violating her rights under the FMI.A

Defendant operates in interstate commerce and has over 50 employees within a 75 mile
mdius of the location where Plaintiff was employed in Clark County, Nevada. 'ITlietefore,
Defenda_nt is a “covered employer,” as defined at 29 U.S.C. § 2611(4), under the Family and
Medicall.eave Act 29 U.S.C. §§ 2611-26_54: and subject to all provisions stated therein

As a`“covered employer” undertthe FMLA,» Defendant is required to offer any “eligible

'employee,” as defined at 29 U.S.C. § 2611(2), up to 12 weeks of leave fot'of absence v

“[b]ecause of a serious health condition that makes the employee unable to perform the
functions oi` the position of such employee”
As fully detailed herein, Plaintiff was an “eligible employee,” entitled.to the protections of

the FMLA having worked for Defenclants over l250 hours during the preceding 12 months

 

 

 

 

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Case 2:15-cv-01311-RC.]-N.]K Document 1j3 Filed 07/10/15 Page 11 of 14

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As fully detailed herein, Plaintiff1 Was qualified to obtain FMLA in that she had a serious
health condition

As any detailed head named provided needth notice or her need for dme off
sufficient notice to nigger its responsibility to provide leave under the FMLA. `

AS fully detailed head D¢£esdast denied mansfme benefits or attended with FMLA
lights to winch she was ensued

Defendant’s violation of the FMLA was willful and without justification

Defendant’s acts Were done with malice and oppression and with Dcfendant’s conscious
disregard for the rights of Plaintiff and with.a certainty of knowledge that ~Plaintiff would be
injured by Defendant’s acts in violation of the FMLA. d

Plaintiff is entitled to all remedies available under the FMLA and hereby claims entitlement
to all appropriate remedies pursuant to 29 U.S.C. § 2617 (a)(l)(A) and (B) including but not
limited to, the following money damages for lost Wages and benelits and any other actual

money damages caused by Defendants’s_violation of the Fl\/ILA; liquidated damages as

provided for under the PLCA; interest as provided for under the FMI..A and other law;

equitable and / or injunctive relief including employment reinstatement and/ or promotion as
provided for by the FMLA and/ or front pay in lieu of employment or reinstatement
Plaintiff is entitled to recover reasonable attorneys‘ fees pursuant to 29 U.S.C. § 2617(a)(3)
for having to incur costs associated with the exercise of her legal rights and remedies through
this action y
RETMMFF
IN VIOLATION OF 'I'HE FAMILY MEDICAL LEAVE ACT
Plaintiff repeats and re~alleges each and every pertinent allegation contained in and every

other pertinent paragraph contained in this Complaint, as if set forth fully herein

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Case 2:15-cv-01311-RCJ-NJK Document 1-3 Fi|‘ed 07/10/15 Page 12 of 14

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Defendant is liable to Plainu`ff for violating her rights under the FMLA.

Defendant operates in interstate'commecce' and have over 50 employees within a 75*mi1e
radius of the location \vhete Plaintiff was employed in Clark County, Nevada. Therefore,
Defendant is a “covered employer,” as defined at 29 U.S.C. § 2611(4), under the Family and
Medical leave Act 29 U.S.C. §§ 2611-2654 and subject to all provisions stated therein

As a “coveted employet” under the FMLA, Defendant is required to offer any “eligible
employee,” as defined at 29 U.S.C. §‘2611(2), up to 12 weeks.of leave for of absence
“[b]ecause of.a sen`ous health condition that makes the employee unable to perform the
functions of the position of such cmployee.” l

As fully detailed herein, Plaintiff was an “eligible employee,” entitled to the protections of
the FMLA having Worked for Defendant over 1250 hours during the preceding 12 monthsl
As fully detailed herein, Plaintiff was qualified to‘obtain FMLA in that she had a serious
healtli condition '

As fully detailed herein, Plaintiff provided sufficient notice of her need to take leave under
the FMLA.

As fully detailed herein, in retaliation foi: Plaintiff’s attempt to exercise her rights under the
FMLA, Defendant terminated plaintiff so it could avoid its obligations and in doing so
discriminated against Plaintiff and her statutory rights under the-Act_. 4

There 'was a causal linli between Plainti£f’s protected activity and Defendant’s adverse
employment action of terminating Plaintiff's employment '

Defendam’s violation of the FMLA was willful and Without justification

Defendant’s acts \vere'done vvith malice and oppression and with Defendant’s conscious
disregard for the rights of Plaintiff and with a certainty of knowledge that 'Plaintiff would be

injured by Defendant’s acts in violation of the FMLA.

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65. Plaintiff is entitled to all.remedies available under the FMLA and hereby claims entitlement

to all appropriate remedies pursuant to 29 U.S.C. § 2617`(21)(1)(!\) and (B) including but not

limited to, the following: money damages for lost wages and benefits and any other actual

money damages caused by Defendant’s violation of_ the FMLA; liquidated damages as

provided for under the FMLA; interest as provided for under'the FMLA and other law; .

equitable and/ or injunctive relief including employment reinstatement and/or promotion as

provided for by the FMLA and/ or front pay in lieu of employth or reinstatement

66. Plainn`ff is entitled to recover reasonable attorneys' fees pursuant to 29 U.S.C. § 2617(a)(3)

for having to incur costs associated‘with the exercise of her legal rights and remedies through

this action

WHERE]`>’ORE, Plainti£t' expressly reserves the right to amend her Cornplaint at or

before the time of trial of the action herein to include all items of damages not yet ascertained and _

demands judgment against Defendant as follows

A. All applicable monetary relief provided for under Pederal law, common law and Nevada

state law including, but not limited, to the following:

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Moncy damages in excess of $10,000.00;
Economic damages including but not limited to, lost wages and benefits of
employment incidental,and consequential damages;

instance damages under the sanity M¢di¢ai L¢av¢ ace 29- U.s.c. § 2617

` <a)<i)<A) aid <B);

General damages including emotional distress and general economic hann;
Equitable and extraordinary relief in the form of an order of reinstatement, or in

the alternative front pay in lieu of reinstatement;

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1 6. Punitive and/or Exemplary damages to deter Defendant from future willful,
2 malicious, ftaudulcnt, and oppressive conduct of a similar nature;

3 7. Pre~judgment and post-judgment interest on the amounts awarded at the
4 prevailing legal rate;

: 8. Fot an additional amount to account for any taxes Plaintiff may be called upon
7 _ to pay in relation to any award made herein;

8 n 1 9. Reasonable attorney fecs, reasonable expert witness fees, and other costs of the
9 action pursuant to federal and state statute, agreement, or court ru.le; `

10 B. A trial by jury on all issues that may be tried to a jury; and/or

 

11 C. For such other and further relief as the Court may deem just and proper.

12 DATED this 15"‘ ofjtme, 2015.

13

, /S/ lame-s P Kemp

14 - JAMES P. KEMP, EsQ.
Nevada Bar No.: 6375

15 VICTOK`[A L. NEAL, ESQ.
Nevada Bax No.: 13382

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